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                     EXHIBIT B
 Complaint To Trans Union, LLC
                    Case:
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                                                        IN THE CHARDON MUNICIPAL COURT
                                                              SMALL CLAIM DMSION
  JACOB CHRISTOPHER COMPTON
  NAME
  17928 AUBURN RD
  ADDRESS
  CHAGRIN FALLS. OH 44023

  44^682-0201
                                                      - FILED:                                                  SMALL CLAIM COMPLAINT

  TELEPHONE                               PLAINTIFF(S)^^ ^ ^ A 0 35 CASE NUMBER                                 otoa^T^"?
            vs.
                                                                 CHAROOH
        TCJE^SON^                                          MUNICIPAL COURT
  NAME                                                       Q^OON. OHIO
        C&S ^- flOwnS^
  ADDRESS                                                     ADDRESS
      Tutrp^bflt 604(,l
    R^SrC^-^^
  TELEPHONE                           DEFENDANT(S) TCLEPHONE                                       DEFENDANT(S)


  TO THE CLERK: Please take notice that a claim is hereby filed against the above defendant(5) and request that he/she/lhey be summoned to appear
  in Court to answer same.
                                                                STATEMENT OF CLAIM
  (Check one - If "Other" is checked, write a brief statement of your claim)
          ACCOUNT- EXHIBIT "A* ATTACHED AND MADE A PART HEREOF
      WAGES
  x_ OTHER:
   On 09/13/2020 a hard Inquiry was furnished to my consumer report by defandant.with the creditor "Huntington Bank". The original creditor

   did NOT extend me a line of credit. 15 U.S. Code § 1881b defines the permissable purposes under which defendant may furnish Irrfonnatton on my^

   consumer report.



  Wherefore plaintiff prays judgment against defendant(s) in the sum of $1000                 . plus Interest from the 13t*i day of Septsmber
  2020_, at a rate of •'5 % and costs.



                                                            AFFIDAVTT OF PLAINTIFF'S CLAIM
  STATE OF OHIO }
  COUNTS OF GEAUGA }SS.
  J(\U)5 rrtB*^itt^6^Qn\»^being first duly sworn, of oath states that * hfct<s the plaintiff(s) in the above entitled cause; that the said
  cause is for the payment of money, that the nature of plaintiffs demand is as stated, and that there is due to plaintiff (s) from fte defendants) the amount
  stated above; def8ndant(s) is/are'not now in the military or naval service of the United States. If service of process of certified mail is returned by the
  postal authorities with the endorsement of "refused' or "unclaimed" Ihe undersigned requests ordinaiy mail service in accordance with Civil Rule 4.6(C)
  or4.6(D).
                                                                                           ^^^^^-^
                                                                                           -^Plaintiffs Signature

                                                   Jay of'ftVLU——. 204
                                                                                                                          tfWGJJl^k^
                                                                                              Clerk /fl^puty Clerk / Notaiy Public
  *He is, she is, they are

                                               111 WATER STREET • CHARDON,OHIO 44024-1201
                                           PHONE: 440.286.2684 • FAX: 440.286.2679 • www.co.geauga.oh.us
                                                                                                                                                                 4
                    Case:
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                                                    CHARDON MUNICIPAL COURT
                                                      SMALL CLAIMS DIVISION
                                                      www.co.geauga.oh.us/municourt

   INSTRUCTIONS TO PLAINTIFF

       1. FILING SUIT: To begin an action in Small Claims Court, come to the Clerk's office, and prepare the necessary papers.
           Effective September 28,2016, the maximum amount you may ask for is $6,000.00. Claims must be for money only; this court
           cannot be used to sue for possession of property or to put a tenant out. You may sue a person living in the county where the
           Small Claims Court is located, or a person living elsewhere if your claim arose in the county. A corporation is treated as a
           "person".

           The debt must be owed to you.
           You may bring an action on behalf of yourself.
           A company may be represented by its officers.
           A corporation may be represented by an officer of the company or a salaried employee.
           If your claim involves property damage to your auto, or arises out of a contract, ordinarily ONLY the Titled owner of the car or
           contracting party, and no others, are proper plaintiffs.

       When filing, bring with you the following Information;
           a) Amount of claim and what it is for
           b) Name, street address, and telephone number of the person you are suing.
           c) If "Account, (exhibit attached)", please provide one copy for Court and one copy for each defendant.
   Effective August 1, 2020, a $100.00 fee is required at the time of filing, ($20.00 for each additional defendant named on the
   complaint). If request is made for personal or residential service by Bailiff, a service fee will be charged at time of request.
       2. TRIAL: A trial date will be set by the clerk. The clerk will mail you a copy of the complaint, which will have the trial date
           entered on it. It will be your responsibility to appear at the Small Claims Court on the date set, without further notice, and to
           bring with you any papers and witnesses to prove your claim.

                            EYOU FAIL TO APPEAR AT TRIAL, YOUR CASE WILL BE DISMISSED.
   INSTRUCTIONS TO DEFENDANT

       1. TRIAL: You have had a lawsuit filed against you. If you wish to contest the Plaintiffs claim, you must appear on the court
           date and bring with you any papers, evidence, or witnesses who you need to prove your defenses. IF YOU FAIL TO APPEAR
           AT TRIAL, JUDGMENT MAY BE ENTERED AGAINST YOU, If you want to file a counterclaim against the Plaintiff, you must
           file the original with the Court ($25 fee) and give or send a copy to all other parties, at least seven days before trial of the
           Plaintiffs claim. A counterclaim may not exceed $6,000.00 in the Small Claims division.
       2. PAYMENT: If you do not dispute Plaintiffs claim, you should make arrangements to pay it, either before or after judgment.
           include the court costs shown En the body of the Summons. If Plaintiff has to pursue collection procedures through the Court,
           additional court costs will be charged to you.

    GENERAL INSTRUCTIONS

       1. ATTORNEY: Small Claims Court is informal. Parties usually appear without an attorney, but you may hire an attorney if you
           wish.

       2, SETTLEMENT: If the claim is settled prior to court date, please advise the Court. {Municipa! Court phone number
           440.286.2684; Fax: 440.286.2679; E-mail: municivil@co.geauga.oh.us} Plaintiff must follow up with a written dismissal.
       3. WITNESSES: If there is someone you need as a witness who refuses to attend the trial, you may ask the court to issue a
           subpoena, if it is needed, no later than 10 days before the tn'al date. (Cost is additional) If you wish to use documents as
           evidence at trial, bring copies for the Court to keep.
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           Frequently, certain kinds of testimony may be especially useful. If'/our claim or defense involves questions or issues which
           involve education, experience or training that you do not have, the testimony of a qualified person as to that particular
           question may be helpful. For example, a professional repairman is a good witness when poor or incomplete wori(manship is
           an issue,

      4. JUDGMENT: If the judgment is for Plaintiff, Plaintiff and Defendant will be sent a copy of the judgment. If the defendant
          refuses to pay the judgment, Plaintiff has the n'ght to enforce the judgment by using any or all of the following procedures:
      5. JUDGMENT UPON MAGISTRATE'S DECISION: If your case is contested and heard by a Magistrate, the Court will review
          the Magistrate's reported decision and may base its decision and judgment thereon. All parties will be sent a copy of the
           Magistrate's Decision and each has fourteen (14) days from its filing date with the Clerk to file written objections to it. Any
           such objections and a copy shall be mailed by you to the other parties. After the Court reviews the report (and any objections
          filed), it will render, and forward each party a copy of its judgment.

      6. APPEAL: By law, parties may appeal to the 1 1'*' District Court of Appeals from a Small Claims Court judgment within thirty
          (30) days from the date of judgment. If your case is contested and heard by a Magistrate, the thirty days do not begin to run
          until the Court renders its judgment thereafter.

      7. SATISFACTION OF DOCKET: When judgment is paid in full, Plaintiff has the obligation to satisfy the docket by reporting
          same to the Court within 30 days, either in person or by letter.
  UNSATISFIED JUDGMENTS HAVE A DETRIMENTAL EFFECT FOR CREDIT RATINGS. ADDITIONAL FILING FEES AND COST
  OF SERVICE MAY BE ADDED TO THE JUDGMENT.

  THE COURT ITSELF IS NOT A COLLECTION AGENCY. The Plaintiff must follow up with collection action. These collection
  procedures can be done through the court upon your instructions. Each of these procedures requires a fee that can be added to the
  total amount due. For some collection actions, the debtor's social security number is needed.

                                                . SUPPLEMENTAL PROCEEDINGS.
      *> DEBTOR'S EXAM: $35.00 FILING FEE ($20,00 EACH ADD'L DEFENDANT) - Request that a supplemental order be
          served on the defendant to require him to come back to court to testify about his assets and income. Plaintiff must handle the
          questioning.

      *:* ASSET & LIABILITY STATEMENT: $20.00 FILING FEE ($20.00 EACH ADD'L DEFENDANT) - After 30 days from the
          judgment date, you may also have the Clerk issue an Asset & Liability Form for the defendant to answer through the mail,
      •:• JUDGMENT LIEN: $20.00 FILING FEE - Docket the Judgment in the office of the County Common Pleas Court Clerk where
          it will be a lien against all real estate owned or acquired within the county. The Municipal Court prepares the Certificate of
          Judgment for Lien, which you must file in the Common Pleas Court of the county where the property is located.
      *:• EXECUTION (LEVY): $100.00 FILING FEE - Have the Bailiff seize certain types of non-exempt personal property, belonging
          to the defendant, to be sold at public auction to apply on the judgment.
      ':* GARNISHMENT:
                $100.00 FILING FEE FOR WAGE GARNISHMENT;
                   $35.00 FILING FEE FOR BANK ATTACHMENTS (BAILIFF SERVES THE LOCAL BRANCH);
                   $50.00 FILING FEE FOR BANK ATTACHMENTS WITH CERTIFIED MAIL SERVICE ON BANK
          Upon plaintiffs completion of Affidavit, the Court wilt sen/e a Writ of Garnishment on the defendant's employer or bank to
          seize non-exempt wages, bank accounts. or debts owed to the defendant (along with the court's deposit, a $1.00 check
          payable to the bank must be included.) * The Plaintiff shall note that wage garnishments are a complex way to collect on a
          judgment,


                 KEEP IN MIND THAT DEPUTY CLERKS CANNOT PROVIDE LEGAL ADVICE.
